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                        UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division


 In re:
                                                       Case Number: 24-30318
 Axim, Inc.,
                                                       Chapter 7

                                 Debtor.

                 TRUSTEE’S MOTION FOR AUTHORITY TO SELL CLAIM

          A. Cotten Wright, the duly appointed chapter 7 trustee (the “Trustee”) in this case, hereby

brings this Trustee’s Motion for Authority to Sell Claim (this “Motion”) and in support, respectfully

shows the Court as follows:

                                           BACKGROUND

          1.     On April 10, 2024, the debtor (the “Debtor”) filed a voluntary petition for relief

pursuant to chapter 7 of the United States Bankruptcy Code.

          2.     The Court thereafter appointed the Trustee.

          3.     The Debtor’s bankruptcy papers listed Accounts Receivables owed to the Debtor

by ConvergeOne in the amount of $29,814 (the “A/R”).

          4.      The Trustee’s investigation revealed that ConvergeOne, Inc. and its affiliates have

filed a bankruptcy case in the United States Bankruptcy Court for the Southern District of Texas,

Case No. 24-90194 (the “ConvergeOne Bankruptcy Case”).

          5.     The Trustee filed a proof of claim for the A/R in the ConvergeOne Bankruptcy Case

(the “Claim”) in the amount of $29,814.

          6.     The Claim is property of the estate pursuant to 11 U.S.C. § 541.




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        7.       The Trustee has entered into a Claim Assignment with CRG Financial LLC (the

“Claim Assignment”) to sell the Claim, subject to court approval, for the sum of $14,907, a true

copy of which is attached hereto as Exhibit A.

                       RELIEF REQUESTED AND BASIS FOR RELIEF

        8.       Through this Motion, the Trustee requests authority to sell the Claim pursuant to

the Claim Assignment and 11 U.S.C. § 363(b)(1).

        9.       Section 363(b)(1) of the Bankruptcy Code permits trustees to sell property of the

bankruptcy estate outside the normal course of business upon a motion and notice of hearing.

                                            ARGUMENT

        10.      In her capacity as the Debtor’s trustee, the Trustee is charged with liquidating the

assets of the Debtor’s bankruptcy estate for the benefit of creditors.

        11.      Because collection of the Claim through the ConvergeOne Bankruptcy Case is

speculative, the Trustee’s proposed sale of the Claim reflects an efficient means of liquidating that

asset for the benefit of the bankruptcy estate.

        12.      Given the circumstances of this case, the Trustee maintains that selling the Claim

would be in the best interests of creditors in this case.

        13.      Notice of this Motion is being provided to those parties listed on the mailing matrix

for this case.




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        WHEREFORE, the Trustee prays that the Court will enter an Order granting this Motion;

authorizing the Trustee to sell the Claim pursuant to the Claim Assignment; and providing such

further relief as is just and proper.

        This is the 13th day of June, 2024.

                                              /s/ Anna S. Gorman
                                              Anna S. Gorman (State Bar No. 20987)
                                              A. Cotten Wright (State Bar No. 28162)
                                              Grier Wright Martinez, PA
                                              Attorneys for the Trustee
                                              521 E Morehead Street, Suite 440
                                              Charlotte, NC 28202
                                              Telephone: 704.375.3720; Fax: 704.332.0215
                                              cwright@grierlaw.com




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                                Exhibit A




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            EXHIBIT A
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                      UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               Charlotte Division


 In re:
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 Axim, Inc.,
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                               Debtor.

                       NOTICE OF OPPORTUNITY FOR HEARING

       TAKE NOTICE that the Trustee in this case has filed papers with the court requesting entry
of an Order allowing her to sell a claim for accounts receivables of the debtor captioned as the
Trustee’s Motion for Authority to Sell Claim (the “Motion”). The Trustee proposes to sell/assign
a $29,814 proof of claim filed in the ConvergeOne Bankruptcy Case for the sum of $14,907.

        Your rights may be affected. You should read these papers carefully and discuss them with
your attorney, if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

       If you do not want the Court to grant the Motion or if you want the Court to consider your
views on the Motion, then on or before twenty-one (21) days of the filing of this notice, you or
your attorney must do three (3) things:

      1.     File a written response with the court requesting that the court hold a hearing
and explaining your position. File the response at:

               U.S. Bankruptcy Court
               401 W. Trade St.
               Suite 2500
               Charlotte, NC 28202

        If you mail your request to the court for filing, you must mail it early enough so the court
will receive it on or before the date stated above.

       2.      On or before the date stated above for written responses, you must also mail,
email or fax a copy of your written request to:

                       A. Cotten Wright, Trustee
                       Grier Wright Martinez
                       521 E. Morehead St., Ste. 440 Charlotte, NC 28202
                       Fax: (704) 332-0215
                       Email: cwright@grierlaw.com

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       3.    Attend the hearing scheduled for July 8, 2024 at 9:30 a.m. in Bankruptcy
Courtroom 2B, U.S. Courthouse, 401 West Trade Street, Charlotte, NC.

       If you or your attorney do not take these steps, A HEARING WILL NOT BE HELD,
and the court may decide that you do not oppose the relief sought in the motion or objection and
may enter an order granting that relief.

       This the 13th day of June, 2024.

                                            /s/ Anna S. Gorman
                                            Anna S. Gorman (NC State Bar #20987)
                                            A. Cotten Wright (NC State Bar #28162)
                                            Grier Wright Martinez, PA
                                            521 E. Morehead St., Ste 440
                                            Charlotte, NC 28202
                                            (704)332-0207 - Telephone
                                            (704)332-0215 - Fax
                                             agorman@grierlaw.com - E-mail Address

                                            Attorneys for the Trustee




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                        UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 Charlotte Division


 In re:
                                                       Case Number: 24-30318
 Axim, Inc.,
                                                       Chapter 7

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                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that copies of the Trustee’s Motion for Authority to Sell
Claim was served on the parties who have requested notice in this case through the Court’s
electronic filing system as well as on the party listed below via e-mail, and that the Notice of
Opportunity for Hearing was served on those parties whose names and addresses appear on the
attached mailing list by U.S. mail, postage pre-paid.


Randy Fish
CRG Financial LLC
84 Herbert Ave
Bldg B, Suite 202
Closter, NJ 07624
Email: rfish@crgfinancial.com

          This is the 13th day of June, 2024.

                                                /s/ Anna S. Gorman
                                                Anna S. Gorman (NC State Bar #20987)
                                                Grier Wright Martinez, PA
                                                521 E. Morehead St., Ste 440
                                                Charlotte, NC 28202
                                                (704)332-0207 - Telephone
                                                (704)332-0215 - Fax
                                                 agorman@grierlaw.com - E-mail Address

                                                Attorneys for the Trustee




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